724 F.2d 52
    33 Fair Empl.Prac.Cas.  1695,33 Empl. Prac. Dec. P 33,978,5 Employee Benefits Ca 1122EQUAL EMPLOYMENT OPPORTUNITY COMMISSION, Plaintiff-Appellant,v.JOSLYN MFG. AND SUPPLY COMPANY, Defendant-Appellee.
    No. 82-1634.
    United States Court of Appeals,Seventh Circuit.
    Dec. 13, 1983.
    
      Appeal from the United States District Court for the Northern District of Illinois, Eastern Division;  James B. Parsons, Judge.
      Before CUMMINGS, Chief Judge, ESCHBACH, Circuit Judge, and SWYGERT, Senior Circuit Judge.
    
    ORDER
    
      1
      In Equal Employment Opportunity Commission v. Joslyn Manufacturing and Supply Co., 706 F.2d 1469 (7th Cir.1983), this Court affirmed a judgment of the district court for the Northern District of Illinois, 524 F.Supp. 1141 (N.D.Ill.1981).  We held that an employer does not violate Title VII of the Civil Rights Act of 1964, 42 U.S.C. Sec. 2000e et seq., as amended by the Pregnancy Discrimination Act, 42 U.S.C. Sec. 2000e(k) (1981), by not providing male employees the same insurance benefits when their wives are hospitalized because of pregnancy as it presently provides them when their wives are hospitalized because of injury or illness.  Subsequently, the Supreme Court decided that such a plan does violate Title VII as amended.  Newport News Shipbuilding &amp; Dry Dock Co. v. Equal Employment Opportunity Commission, --- U.S. ----, 103 S.Ct. 2622, 77 L.Ed.2d 89 (1983).  Consequently, we hereby VACATE our previous decision and REMAND the cause to the district court for further proceedings in light of the Supreme Court's Newport News decision.
    
    